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                               EXHIBIT 18
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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO

        Civil Action No. 1:16-cv-02981-MSK-KMT
        TECH INSTRUMENTATION, INC., a Colorado corporation, individually and on behalf
        of all others similarly situated,
                                     Plaintiff
        v.

        EURTON ELECTRIC COMPANY, INC., a California corporation
                                      Defendant

                                      SUPPLEMENTAL DISCLOSURES




        TO PLAINTIFF AND ITS COUNSEL OF RECORD
                       Defendant TECH INSTRUMENTATION, INC. (“Defendant”), through its
        counsel of record, submits the following supplemental disclosures, pursuant to Fed. R.
        Civ. P. 26(a)(1) and (e)(1). Defendant reserves the right, in accordance with Fed. R. Civ.
        P. 26(e)(1), to amend or supplement these disclosures as discovery progresses.
                                                 General Objections
                       1.   Privileged information. Defendant reserves the right to object to the
        disclosure of information to the extent that such information is protected by the attorney-
        client privilege, or any other applicable privilege, on the grounds that such matters are
        exempted from discovery.
                       2.   Work Product. Defendant reserves the right to object to the disclosure of
        information to the extent that such information is not discoverable by reason of the work-
        product or trial-preparation doctrine.
                       3.   Relevancy. Defendant reserves the right to object to the disclosure of




        {00131044;1}
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        information that is not relevant to any claim or defense.
        Supplemental disclosures under Rule 26(e)(1)(A)
                       Eurton previously produced a fax list in discovery as EE001-33.          That list
        represents 1,498 fax numbers. To Eurton’s knowledge, only 1,239 were good numbers.
                       With respect to persons in Eurton’s database that do not overlap with the fax list,
        Eurton has identified 2,179 phone numbers, produced as EE001286.



        DATED: February 27, 2020                     CARLSON & MESSER, LLP

                                                      By: __/s/ David J. Kaminski__________
                                                            David J. Kaminski, Esq.,
                                                            Stephen A. Watkins, Esq.,
                                                            Attorney for Defendant
                                                            TECH INSTRUMENTATION, INC.




        {00131044;1}
                                                                                 SUPPLEMENTAL DISCLOSURES
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                                       PROOF OF SERVICE

    STATE OF CALIFORNIA                            )
                                                   )    ss
    COUNTY OF LOS ANGELES                          )

             I am employed in the County of Los Angeles, State of California.

         I am over the age of eighteen years and not a party to the within action. My
   business address is 5901 West Century Blvd., Suite 1200, Los Angeles, California 90045.

       On February 27, 2020, I served the foregoing document(s) described as:
   SUPPLEMENTAL DISCLOSURES on all interested parties in this action as follows:

                                 SEE ATTACHED SERVICE LIST

    []       BY MAIL: I sealed such envelope(s) and placed it (them) for collection and
             mailing on this date following the ordinary business practices of Carlson & Messer
             LLP. I am readily familiar with the business practices of Carlson & Messer LLP
             for collection and processing of correspondence for mailing with the United States
             Postal Service. Such correspondence would be deposited with the United States
             Postal Service at Los Angeles, California this same day in the ordinary course of
             business with postage thereon fully prepaid.

    [X]      BY ELECTRONIC MAIL: Based on Court order or an agreement of the parties
             to accept service by e-mail or electronic transmission, I caused the said documents
             to be sent to the persons at the electronic mail addresses listed below (see attached
             service list). I did not receive within a reasonable time after the transmission, any
             electronic message or other indication that the transmission was unsuccessful.

    []       PERSONAL SERVICE BY HAND: I personally served document to address
             stated on POS Service List.

    []       (STATE): I declare under penalty of perjury under the laws of the State of
             California that the above is true and correct.

    [X]      (FEDERAL): I declare that I am employed in the office of a member of the bar
             of this court at whose direction the service was made.

             Executed this 27 th day of February, 2020 at Los Angeles, California.




                                                                    Susie Valiente




   {00131047;1}
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                                       SERVICE LIST
                  Tech Instrumentation, Inc. v. Eurton Electric Company, Inc.
                              Case No. 1:16-cv-02981-MSK-KMT
                                      File No. 11042.20


     Patrick H. Peluso                            Attorneys for Plaintiff:
     Taylor True Smith                            TECH INSTRUMENTATION, INC.
     Steven Lezell Woodrow
     WOODROW & PELUSO LLC
     3900 East Mexico Avenue, Suite 300
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     Tel: (720) 213-0676
     Fax: (303) 927-0898
     Email: ppeluso@woodrowpeluso.com
             tsmith@woodrowpeluso.com
             swoodrow@woodrowpeluso.com




   {00131047;1}
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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLORADO

        Civil Action No. 1:16-cv-02981-MSK-KMT
        TECH INSTRUMENTATION, INC., a Colorado corporation, individually and on behalf
        of all others similarly situated,
                                      Plaintiff
        v.

        EURTON ELECTRIC COMPANY, INC., a California corporation
                                       Defendant

                             SECOND SET OF SUPPLEMENTAL DISCLOSURES




        TO PLAINTIFF AND ITS COUNSEL OF RECORD
                       Defendant EURTON ELECTRIC CO., INC. (“Defendant”), through its counsel
        of record, submits the following supplemental disclosures, pursuant to Fed. R. Civ. P.
        26(a)(1) and (e)(1). Defendant reserves the right, in accordance with Fed. R. Civ. P.
        26(e)(1), to amend or supplement these disclosures as discovery progresses.
                                                  General Objections
                       1.    Privileged information. Defendant reserves the right to object to the
        disclosure of information to the extent that such information is protected by the attorney-
        client privilege, or any other applicable privilege, on the grounds that such matters are
        exempted from discovery.
                       2.    Work Product. Defendant reserves the right to object to the disclosure of
        information to the extent that such information is not discoverable by reason of the work-
        product or trial-preparation doctrine.
                       3.    Relevancy. Defendant reserves the right to object to the disclosure of




        {00135470;1}
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        information that is not relevant to any claim or defense.
        Supplemental disclosures under Rule 26(e)(1)(A)
        INTERROGATORY NO. 4:
                       For all Persons Identified in response to Interrogatory No. 3 above, Identify each
        Persons with whom You had an Established Business Relationship.
        AMENDED RESPONSE TO INTERROGATORY NO.4:
                       Objection. The Interrogatory is vague, ambiguous, compound, overly broad in
        time and scope, it seeks information that is irrelevant and not likely to lead to admissible
        evidence, and therefore is burdensome, oppressive and harassing as phrased.
                       Subject to and without waiving, and notwithstanding the foregoing objections,
        Responding Party responds: Based upon the definition of "Established Business
        Relationship" as stated in 47 C.F.R. § 64.12000(6), Responding Party is unable to
        determine based upon its records in its possession whether all individuals, persons and/or
        businesses entities had an "Established Business Relationship" with Responding Party at
        the time in which said individuals, persons and/or business entities were sent a facsimile
        by Responding Party regarding Responding Party's goods. Responding Party does not
        maintain records of when facsimiles are sent to specific individuals, persons and/or
        business entities and the status of the business relationship at the time in which the
        facsimile is sent.
        SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 4
                       Without waiving its previous objections, Defendant responds as follows:
                       1.     Class List
                       In ordering class notice, the Court acknowledged Eurton’s lack of evidence
        reflecting the actual numbers faxed by Westfax. The Court required notice be sent to the
        following the following persons or entities as a compromise:
                       (i)    those listed on Eurton’s 2017 fax logs;
                       (ii)   those listed on any existing iteration of Eurton’s “fax list”; and

        {00135470;1}
                                                                     SECOND SET OF SUPPLEMENTAL DISCLOSURES
                                                                                                         2
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                       (iii)   those who do not meet either of the first two criteria, but who are noted as
        having a fax number in either                Eurton’s accounting database or on its potential
        customer/actual customer spreadsheet.
                       With respect to section (ii) Eurton previously produced a fax list in discovery as
        EE001-33. That list represents 1,498 fax numbers. However, 252 of those numbers are
        numbers that were not able to be faxed. Either the numbers are not listed as fax numbers,
        or the companies associated with the numbers are no longer in business.
                       With respect to item (iii), persons in Eurton’s database that do not overlap with the
        fax list, Eurton has identified 2,378 phone numbers, produced as EE002363.
                       The potential customer/actual customer spreadsheet referenced at the deposition
        of Eurton was “Tools List for Mailer 5-2009”, but those numbers are already included in
        EE001-33.
                       With respect to item (i), Plaintiff’s Complaint was filed on December 6, 2016.
        Eurton does not have fax logs prior to the lawsuit. The 2017 fax logs referred to by
        Eurton in Dkt. 66 and 66-1 are post-lawsuit faxes to confirm consent, as described below.
        Regardless, those numbers faxed are already set forth in EE001-33 and do not add
        numbers to the list.
                       2.      Documents evidencing consent
                       Documents relating to consent to call the class list are described in greater detail
                       below, but in summary:


                                                               See EE001290-1410, (Prior permission
         EE001-33 (first part of class list)
                                                               to fax documents); EE1411-1501 (Credit
                                                               App list recipients plus updates and
                                                               permissions), EE2023-2361 (List
                                                               Recipients with update forms and
                                                               corresponding statements)

                                                               EE0039-1285 (Verified Contacts with
                                                               Permission to Fax Approvals)

                                                               EE2362 – summary spreadsheet
        {00135470;1}
                                                                     SECOND SET OF SUPPLEMENTAL DISCLOSURES
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                                                              EE1502 -2022 (A, B and C evidence of
         EE002363 (second part of class list)
                                                              consent to fax)
                                                              EE2364 – summary spreadsheet
                                                              EE2365-3060 – Fax flyers from
         Both lists
                                                              customers and potential customers


                       Eurton’s practice to obtain fax numbers has been described as a three-step process.
                       First, Eurton would locate businesses online that might use motors in their
        operations.
                       Second, Eurton would then cold-call those businesses and ask whether the
        business would be interested in receiving more information.
                       Third, the company policy was to then ask the businesses if they agreed to receive
        more information, including by fax.
                       In addition to the 3 Step Process (above), another main way Eurton collected
        information from customers and potential customers is that they would seek out Eurton
        on their own for their rewinding/repairing and parts services and request to be faxed and/or
        added for future faxing. See EE2365-3060 - Fax flyers from customers and potential
        customers.
                       It was also a matter of company policy that Eurton would remove anyone when
        “mistakes” occurred. However, these removals were few and far in between.
                       Prior to deposition, John Buchanan did a cursory search for “opt outs.” Mr.
        Buchanan only located two opt outs. However, an opt-out does not necessarily mean there
        was not initial permission to fax, only that the recipient no longer desired faxes.
                       During the three-step process consent to fax was often obtained orally. However,
        consent to fax was also reflected by potentially three different documents: (1) Prior
        Permission to Fax Form; (2) Credit Application; and (3) Updated Customer Information
        Form.
                       a.     Prior Permission to Fax Form documents consent
                       As one example, Kalamazoo Electric Motor Inc. signed a Prior Permission to Fax

        {00135470;1}
                                                                    SECOND SET OF SUPPLEMENTAL DISCLOSURES
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         form with the following language:
                        “Eurton Electric has had permission to contact us via: phone calls, faxes, emails
         and mailings. Sending flyers, catalogs, postcards, etc. to keep us informed on the latest
         rewinds, repair parts, products, sales and specials offered from time to time.”
         (EE001288)
                        Although this form is undated, Kalamazoo Electric states it has been a client of
         Eurton for 10 to 20 years, as do over 100 other list recipients
                        b.     Credit application form documents consent
                        As part of its customer process, Eurton would have customers fill out a credit
         application. A sample of this credit application for Kalamazoo Electric Motor Inc. is set
         forth at (EE01289), which includes the following language:
                        “This information provides us with the best way of contacting you for all normal
         business communications, including: invoices, sales orders, catalogs, promotional flyers,
         pricing updates, etc.:
                        c.     Customer Contact Information Update Form
                        As part of its customer process, Eurton would have customers periodically fill out
         Customer Contact Information Update Forms. A sample of this Customer Contact
         Information Update Form for Kalamazoo Electric Motor Inc. is set forth at (EE01287) and
         includes the following language:
                        “The above information is current and is the best way of contacting us through
         normal business communications including:                invoices, sales orders pricing, sales
         promotions, references, phone, facsimiles, specials and catalog and brochure mailers, etc.”
                        Many of Eurton’s customers have been customers over five to ten years. In this
         regard, much of the documentation relating to prior permission, credit applications, and
         updated credit applications has been lost over time.
                        Eurton maintains an accounting database. This is a master list that has names,
         addresses, fax numbers, and sales of people that have done business with Eurton.

         {00135470;1}
                                                                     SECOND SET OF SUPPLEMENTAL DISCLOSURES
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                        However, it was Eurton’s policy and procedure such that every person who was
         listed in the customer database would have completed a credit application. Not every
         credit application would have specifically had the language referencing faxes for “sales
         and specials,” for several reasons.
                        First, many of Eurton’s customer’s applications date back before faxing. Second,
         many customers would submit their own pre-filled out credit forms with their contact
         information which includes their fax numbers among other contacts. Moreover, Eurton
         changed credit application forms over the years. Although the specific verbiage was not
         included, Eurton implied the information given included all forms of normal business
         communications which included faxing for promotions.
                        Regardless, it was Eurton’s practice to orally inform customers who completed
         credit applications the various reasons faxes would be sent.
                        Eurton does not have “Permission to Fax” forms for all of the persons on the class
         list, for multiple reasons. First, many of Eurton’s business relationships are so old, that
         even if it had a “Permission to Fax” form five, ten years ago, those paper documents
         have been lost or destroyed over time.            Also, Eurton would obtain permission to fax
         orally, and did not believe a form was necessary. Customers and potential customers
         would ask to be faxed. Moreover, Eurton would ask to fax in a mutual, free exchange of
         business relations.
                        Eurton does not have credit application forms for all of the persons it faxed, for
         multiple reasons. First, many of Eurton’s business relationships are so old, that even if it
         had a credit application form five, ten years ago, those paper documents have been lost
         or destroyed over time.            Second, persons faxed included both potential and actual
         customers, whereas credit applications were usually completed by actual customers.
                        Eurton has located approximately 150 prior permission to fax forms and, two to
         three-thousand credit applications, and several hundred updated customer update forms.
         See EE001290-1410, (Prior permission to fax documents), EE2023-2361 (List Recipients

         {00135470;1}
                                                                     SECOND SET OF SUPPLEMENTAL DISCLOSURES
                                                                                                         6
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         with update forms and corresponding statements), and EE1502-2022 (Credit App list
         recipients plus updates and permissions). These documents relate to EE00-33.
                        With respect to the 2,378 fax numbers, produced as EE002363, it was too
         burdensome and voluminous to assemble records for the entirety of the numbers, but it
         was able to assemble for letters A, B and C evidence of consent to fax. (EE002023-2361,
         and spreadsheet EE02362)
                        Eurton does not possess any records of faxes actually sent (“fax logs”) from
         WestFax. Only Exhibit C’s fax logs were supplied by Eurton Electric. Such fax logs
         would likely be in the possession of Westfax. Any fax logs received from Westfax would
         have been deleted in the regular course of Eurton’s business prior to notice of Plaintiff’s
         lawsuit in late 2016.
                        d.     Eurton’s post-lawsuit verification process
                        Plaintiff’s Complaint was filed on December 6, 2016.          In 2017, without
         involvement of defense counsel, Eurton directly contacted its customers to verify consent
         fax. In this regard,
                        Eurton would call these customers to orally confirm/verify the fax numbers
         because the numbers on the list were only numbers, they needed to be reverse engineered
         from having just a fax number to get the further needed information (company name,
         address, phone, etc). During this verification processs, Eurton would then send these
         persons who had given their previous permission to fax them a flyer to confirm their prior
         consent and numbers to receive faxes.
                        All 1,100 + fax flyers, have the contacts, verified numbers and have "Permission
         to Fax was given by contact at the top of the flyer" and an extensive opt out message. (See
         EE0039-1285.)
                        This confirmation is noted spreadsheet set forth at EE2362. (Recipient List
         Verification) All of the persons Eurton was able to contact (92% of the spreadsheet)
         confirmed consent. This spreadsheet only relates to the list set forth as EE001-33.

         {00135470;1}
                                                                    SECOND SET OF SUPPLEMENTAL DISCLOSURES
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                        When Eurton refers to a “fax list”, it refers to a list of fax phone numbers that it
         maintained that were presumably sent to WestFax. Eurton periodically updated this list
         with Excel.
                        At deposition, Eurton referred to a spreadsheet as the source of fax list numbers
         only. Eurton was referring to “Tools List for Mailer 5-2009” (“Tools List”). It was
         Eurton’s mailing list for potential and current customers at that time (2009). This
         collection was independent and not part of Eurton’s customer database. The list was
         assembled for mailing, but as Eurton added contact names, fax numbers, and permissions,
         the fax numbers were put on the fax list in question.
                        841 of the 1,523 numbers on the Tools List had been contacted and name and fax
         numbers had been added. Only 1,287 of the 1,523 numbers on the Tools List had
         verifiable fax numbers. Of the 1,287 verifiable numbers, 1,084 (92%) verified their
         information and gave permission to fax and were faxed (EE2362). The remaining 682
         numbers could not been updated and were not faxed because 1. The numbers were no
         longer a faxable number. 2. The number/customer could not be contacted or verified after
         3 attempts. 3. The recipient/company is no longer in business. All of the aforementioned
         841 contacts are already set forth in EE001-33.
                        Eurton also maintains an accounting database. This is a master list that has names,
         addresses, fax numbers, and sales of companies that have done business with Eurton. It
         is unknown whether these companies would have actually been faxed at those numbers
         without having fax logs from Westfax.
                        Eurton asserts that EE1-23060 and 10,000+ business transactions between Eurton
         and List Recipients) are all evidences of consent to call, email or fax, the persons on the
         class list, and also evidences an existing business relationship with these customers.
         REQUEST TO PRODUCE NO.22:
                        Any and all Documents sufficient to evidence any action taken in furtherance of
         Your supposed three-step procedure as set forth in you Amended Responses to Request

         {00135470;1}
                                                                      SECOND SET OF SUPPLEMENTAL DISCLOSURES
                                                                                                           8
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         to Produce No. 2 served July 7, 2017, including without limitation any and all Internet
         browsing history, telephone call records/bills, notes of discussions with potential
         customers, proof of facsimile transmission/fax reports, communications with any third
         party vendor You hired to send the Faxes, or any other documents evidencing actions
         taken in furtherance of or consistent with your supposed three-step procedure.
         RESPONSE TQ REQUEST TO PRQDUCE NO.22:
                        Objection. Responding Party objects on the grounds that this request is vague and
         ambiguous as to the terms/phrases "sufficient," "evidence," "furtherance," "three-step
         procedure," "Internet browsing history," "telephone call records/bills," "proof of facsimile
         transmission/reports," and "third-party vendors." Further, Responding Party objects an the
         grounds that this request is overly broad as to both time and scope. Responding Party also
         objects on the grounds that this request is not reasonably calculated to lead to the discovery
         of admissible evidence. Responding Party objects on the grounds and to the extent that
         this request seeks information protected by the attorney-client privilege and/or attorney
         work product.
         SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 22
                        Without waiving its previous objection, Eurton responds as follows: See EE1-
         3060.



         DATED: June 10, 2020                        CARLSON & MESSER, LLP

                                                       By: __/s/ David J. Kaminski__________
                                                             David J. Kaminski, Esq.,
                                                             Stephen A. Watkins, Esq.,
                                                             Attorney for Defendant
                                                             TECH INSTRUMENTATION, INC.




         {00135470;1}
                                                                    SECOND SET OF SUPPLEMENTAL DISCLOSURES
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                                          PROOF OF SERVICE

     STATE OF CALIFORNIA                              )
                                                      )    SS
     COUNTY OF LOS ANGELES                            )

                I am employed in the County of Los Angeles, State of California.
          I am over the age of eighteen years and not a pafiy to the within action. My
   business address is 5901 West Century Blvd., Suite 1200, Los Angeles, California 90045.

          On June 10r 2020, I served the foregoing document(s) described as: SECOND
   SET OF' SUPPLEMENTAL DISCLOSURES on all interested parties in this action as
   follows:
                          SEE ATTACHED SERVICE LIST

     II         BY MAIL: I sealed such envelope(s) and placed it (them) for collection and
                mailing on this date following the ordinary business practices of Carlson & Messer
                LLP. I am readily familiar with the business practices of Carlson & Messer LLP
                for collection and processing of correspondence for mailing with the United States
                Postal Service. Such correspondence would be deposited with the United States
                Postal Service at Los Angeles, California this same day in the ordinary course of
                business with postage thereon fully prepaid.

     txl BY ELECTRONIC MAIL: Based on Court order or an agreement of the parties
                to accept service by e-mail or electronic transmission, I caused the said documents
                to be sent to the persons at the electronic mail addresses listed below (see attached
                service list). I did not receive within a reasonable time after the transmission, any
                electronic message or other indication that the transmission was unsuccessful.
                PERSONAL SERVICE BY HAND: I personally served document to address
                stated on POS Service List.

     t1         (STATE): I declare under penalty of perjury under the laws of the State of
                California that the above is true and correct.

     lxl (FEDERAL): I declare that I am employedwasin made.
                                                      the office of a member of the bar
                of this court at whose direction the service
                Executed this 10th day of June, 2020 at Los Angeles, California.




                                                                       Susie Valiente




    {00135498; I }
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                                        SERVICE LIST
                   Tech Instrumentation, Inc. v. Eurton Electric Company, Inc.
                               Case No. I : l6-cv-02981 -MSK-KMT
                                       File No. 11042.20


      Patrick H. Peluso                            Attorneys for Plaintiff:
      Taylor True Smith                            TECH INSTRAMENTATION, INC.
      Steven Lezell Woodrow
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      3900 East Mexico Avenue, Suite 300
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      Fax: (303) 927-0898
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              tsmith@woodrowpeluso. com
              swoodrow@woodrowpeluso. com




    {0013s498;l}
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                                  IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLORADO

         Civil Action No. 1:16-cv-02981-MSK-KMT
         TECH INSTRUMENTATION, INC., a Colorado corporation, individually and on behalf
         of all others similarly situated,
                                       Plaintiff
         v.

         EURTON ELECTRIC COMPANY, INC., a California corporation
                                        Defendant

                               THIRD SET OF SUPPLEMENTAL DISCLOSURES




         TO PLAINTIFF AND ITS COUNSEL OF RECORD
                        Defendant EURTON ELECTRIC CO., INC. (“Defendant”), through its counsel
         of record, submits the following supplemental disclosures, pursuant to Fed. R. Civ. P.
         26(a)(1) and (e)(1). Defendant reserves the right, in accordance with Fed. R. Civ. P.
         26(e)(1), to amend or supplement these disclosures as discovery progresses.
                                                   General Objections
                        1.    Privileged information. Defendant reserves the right to object to the
         disclosure of information to the extent that such information is protected by the attorney-
         client privilege, or any other applicable privilege, on the grounds that such matters are
         exempted from discovery.
                        2.    Work Product. Defendant reserves the right to object to the disclosure of
         information to the extent that such information is not discoverable by reason of the work-
         product or trial-preparation doctrine.
                        3.    Relevancy. Defendant reserves the right to object to the disclosure of




         {00136408;1}
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         information that is not relevant to any claim or defense.
         Supplemental disclosures under Rule 26(e)(1)(A)
                        As part of its customer process, Eurton would have customers periodically fill out
         Customer Contact Information Update Forms. Many of these forms are set forth in
         EE3061-3935. That these forms were employed prior to the filing of the lawsuit is
         reflected in the fax imprints on top of pages 3061-70.



         DATED: July 8, 2020                          CARLSON & MESSER, LLP

                                                       By: __/s/ David J. Kaminski__________
                                                             David J. Kaminski, Esq.,
                                                             Stephen A. Watkins, Esq.,
                                                             Attorney for Defendant
                                                             TECH INSTRUMENTATION, INC.




         {00136408;1}
                                                                      THIRD SET OF SUPPLEMENTAL DISCLOSURES
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                                       PROOF OF SERVICE

    STATE OF CALIFORNIA                             )
                                                    )    ss
    COUNTY OF LOS ANGELES                           )

             I am employed in the County of Los Angeles, State of California.

         I am over the age of eighteen years and not a party to the within action. My
   business address is 5901 West Century Blvd., Suite 1200, Los Angeles, California 90045.

         On July 8, 2020, I served the foregoing document(s) described as: THIRD SET
   OF SUPPLEMENTAL DISCLOSURES on all interested parties in this action as
   follows:
                           SEE ATTACHED SERVICE LIST

    []       BY MAIL: I sealed such envelope(s) and placed it (them) for collection and
             mailing on this date following the ordinary business practices of Carlson & Messer
             LLP. I am readily familiar with the business practices of Carlson & Messer LLP
             for collection and processing of correspondence for mailing with the United States
             Postal Service. Such correspondence would be deposited with the United States
             Postal Service at Los Angeles, California this same day in the ordinary course of
             business with postage thereon fully prepaid.

    [X]      BY ELECTRONIC MAIL: Based on Court order or an agreement of the parties
             to accept service by e-mail or electronic transmission, I caused the said documents
             to be sent to the persons at the electronic mail addresses listed below (see attached
             service list). I did not receive within a reasonable time after the tra nsmission, any
             electronic message or other indication that the transmission was unsuccessful.

    []       PERSONAL SERVICE BY HAND: I personally served document to address
             stated on POS Service List.

    []       (STATE): I declare under penalty of perjury under the laws of the State of
             California that the above is true and correct.

    [X]      (FEDERAL): I declare that I am employed in the office of a member of the bar
             of this court at whose direction the service was made.

             Executed this 8 th day of July, 2020 at Los Angeles, California.




                                                                     Susie Valiente




   {00136446;1}
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                                       SERVICE LIST
                  Tech Instrumentation, Inc. v. Eurton Electric Company, Inc.
                              Case No. 1:16-cv-02981-MSK-KMT
                                      File No. 11042.20


     Patrick H. Peluso                            Attorneys for Plaintiff:
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             tsmith@woodrowpeluso.com
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   {00136446;1}
Case No. 1:16-cv-02981-MSK-MDB Document 109-21 filed 11/01/21 USDC Colorado pg 21
                                     of 24




                                  IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLORADO

         Civil Action No. 1:16-cv-02981-MSK-KMT
         TECH INSTRUMENTATION, INC., a Colorado corporation, individually and on behalf
         of all others similarly situated,
                                       Plaintiff
         v.

         EURTON ELECTRIC COMPANY, INC., a California corporation
                                        Defendant

                              FOURTH SET OF SUPPLEMENTAL DISCLOSURES




         TO PLAINTIFF AND ITS COUNSEL OF RECORD
                        Defendant EURTON ELECTRIC CO., INC. (“Defendant”), through its counsel
         of record, submits the following supplemental disclosures, pursuant to Fed. R. Civ. P.
         26(a)(1) and (e)(1). Defendant reserves the right, in accordance with Fed. R. Civ. P.
         26(e)(1), to amend or supplement these disclosures as discovery progresses.
                                                   General Objections
                        1.    Privileged information. Defendant reserves the right to object to the
         disclosure of information to the extent that such information is protected by the attorney-
         client privilege, or any other applicable privilege, on the grounds that such matters are
         exempted from discovery.
                        2.    Work Product. Defendant reserves the right to object to the disclosure of
         information to the extent that such information is not discoverable by reason of the work-
         product or trial-preparation doctrine.
                        3.    Relevancy. Defendant reserves the right to object to the disclosure of




         {00137570;1}
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         information that is not relevant to any claim or defense.
         Supplemental disclosures under Rule 26(e)(1)(A)
                        See EE3947-4969, reflecting over 10,000 business transactions.    Documents
         include Sales Orders, Invoices and Statements.



         DATED: July 30, 2020                             CARLSON & MESSER, LLP

                                                    By: __/s/ David J. Kaminski__________
                                                          David J. Kaminski, Esq.,
                                                          Stephen A. Watkins, Esq.,
                                                          Attorney for Defendant
                                                          TECH INSTRUMENTATION, INC.




         {00137570;1}
                                                                   FOUR SET OF SUPPLEMENTAL DISCLOSURES
                                                                                                     2
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                                     of 24




                                       PROOF OF SERVICE

    STATE OF CALIFORNIA                             )
                                                    )    ss
    COUNTY OF LOS ANGELES                           )

             I am employed in the County of Los Angeles, State of California.

         I am over the age of eighteen years and not a party to the within action. My
   business address is 5901 West Century Blvd., Suite 1200, Los Angeles, California 90045.

         On July 30, 2020, I served the foregoing document(s) described as: FOURTH
   SET SUPPLEMENTAL DISCLOSURES on all interested parties in this action as
   follows:

                                 SEE ATTACHED SERVICE LIST

    []       BY MAIL: I sealed such envelope(s) and placed it (them) for collection and
             mailing on this date following the ordinary business practices of Carlson & Messer
             LLP. I am readily familiar with the business practices of Carlson & Messer LLP
             for collection and processing of correspondence for mailing with the United States
             Postal Service. Such correspondence would be deposited with the United States
             Postal Service at Los Angeles, California this same day in the ordinary course of
             business with postage thereon fully prepaid.

    [X]      BY ELECTRONIC MAIL: Based on Court order or an agreement of the parties
             to accept service by e-mail or electronic transmission, I caused the said documents
             to be sent to the persons at the electronic mail addresses listed below (see attached
             service list). I did not receive within a reasonable time after the transmission, an y
             electronic message or other indication that the transmission was unsuccessful.

    []       PERSONAL SERVICE BY HAND: I personally served document to address
             stated on POS Service List.

    []       (STATE): I declare under penalty of perjury under the laws of the Stat e of
             California that the above is true and correct.

    [X]      (FEDERAL): I declare that I am employed in the office of a member of the bar
             of this court at whose direction the service was made.

             Executed this 30 th day of July, 2020 at Los Angeles, California.




                                                                     Susie Valiente




   {00137604;1}
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                                       SERVICE LIST
                  Tech Instrumentation, Inc. v. Eurton Electric Company, Inc.
                              Case No. 1:16-cv-02981-MSK-KMT
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     Patrick H. Peluso                            Attorneys for Plaintiff:
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   {00137604;1}
